Case 2:17-cr-20183-MAG-RSW ECF No. 162 filed 11/08/17                    PageID.440      Page 1 of 2



                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

        Plaintiff,
 -vs-                                                  Case No. 17-20183
                                                       Hon. MARK A. GOLDSMITH
 D-5, HAROLD LASHAWN NERO,

       Defendant.
 _______________________________________________________________________/


                        STIPULATED ORDER TO ALLOW
              ENHANCED COMPUTER ACCESS TO REVIEW EXTENSIVE
             DISCOVERY MATERIAL PROVIDED BY THE GOVERNMENT
                  AND REIMBURSEMENT TO DEFENSE COUNSEL



        The undersigned parties having approved this Stipulated Order, and the Court being fully

 advised in the premises;

 IT IS ORDERED that the Defendant, Harold LaShawn Nero shall be allowed enhanced

 computer access to review the extensive discovery material provided by the Government, in the

 Sanilac County Jail or other facility designated by the U.S. Marshal Service.

 IT IS FURTHER ORDERED that the Sanilac County Jail is authorized to and may permit

 Defendant access to the computer provided by Defense counsel once the computer has been

 cleared and pre-loaded as described below at times that are reasonable to be determined by the

 Sanilac County Sheriff

 IT IS FURTHER ORDERED that the computer provided to Defendant shall not contain gaming

 devices on the platform, the internal card for internet access will be disabled, and the discovery

 will be pre-loaded with the Government’s discovery by the Discovery Coordinator, Christopher
Case 2:17-cr-20183-MAG-RSW ECF No. 162 filed 11/08/17                   PageID.441      Page 2 of 2



 Antone, following the removal of any and all pornographic images by the Discovery

 Coordinator.

 IT IS FURTHER ORDERED that counsel for the Defendant may seek reimbursement for the

 purchase of the computer allowing Defendant access to his discovery as well as the cost of

 shipment to Defendant.

        SO ORDERED.



 Dated: November 8, 2017                      s/Mark A. Goldsmith
 Detroit, Michigan                            MARK A. GOLDSMITH
                                              United States District Judge




                                   CERTIFICATE OF SERVICE

 The undersigned certifies that the foregoing document was served upon counsel of record and any
 unrepresented parties via the Court's ECF System to their respective email or First Class U.S. mail
 addresses disclosed on the Notice of Electronic Filing on November 8, 2017.

                                              s/Karri Sandusky
                                              Case Manager



 By: s/Jerome Gorgon_                                 By: s/Mark H. Magidson
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